Case 2:03-Cr-20357-BBD Document 98 Filed 07/14/05 Page 1 of 2 Page|D 127

:cN THE: UN::TED sTATF..s DISTRICT coUR'r FH£D BY D-C-

FoR mm wEsTERN DISTRICT oF TENNEss
wEsTERN DIvIsIoN EE$JUL ll¢ AH||- 03

THOMAS M. GOL§.D
W OF z:§§m$

 

     

UNITED STATES OF A.MERICA,
Plaintiff,
vs. CR. NO. 03-20357-Ma

TERRY BROWN,

~.¢~...,¢-._/~_d\.¢~..__,~_/~_,~.._J

Defendant.

 

ORDER ON CONTINULNCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAX

 

This cause came on for a report date on June 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from June 24, 2005 through August 12, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

344\

l
IT IS SO ORDERED this day of July, 2005.

~d//%..

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Wfth Hlu`e 55 anaxor 3211.)) FRCrP on ezet"mzc§mp£g§"ame §§

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 98 in
case 2:03-CR-20357 Was distributed by faX, mail, or direct printing on
July ]8, 2005 to the parties listed.

 

 

Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

Memphis7 TN 38111

Honorable Samuel Mays
US DISTRICT COURT

